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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

DESIREE M. MAYES,

             Plaintiff,

              vs.                                      CIV. ACTION NO. _______________

ENPRO ASSOCIATES, LLC;                                 JURY TRIAL DEMANDED
STEMCO LP;
MAT HD, LLC; and
JAMES MEELER

             Defendants.


                            COMPLAINT FOR DAMAGES

      COMES NOW Plaintiff Desiree M. Mayes, by and through the Undersigned

Counsel of Record, and hereby files this Complaint for Damages against Defendants

EnPro Associates, LLC, Stemco LP, MAT HD, LLC, and James Meeler, respectfully

showing the Court as follows:

                           I. JURISDICTION AND VENUE

                                               1.

      Plaintiff Desiree M. Mayes commences the above-captioned case pursuant to:

(a) 42 U.S.C. §§ 2000e, et seq., Title VII of the Civil Rights Act of 1964, as

amended, (“Title VII”) for race discrimination and retaliation; (b) 42 U.S.C. § 1981,

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the Civil Rights Act of 1866, as amended by the Civil Rights Act of 1981 (“Section

1981”) for race discrimination and retaliation; (c) the Family and Medical Leave Act

of 1993, as amended, 29 U.S.C. §§ 2601, et seq., (“FMLA”) for interference; and

(d) the laws of the State of Georgia for intentional infliction of emotional distress,

as well as negligent retention and supervision.

                                                2.

      The United States District Court for the Northern District of Georgia, Rome

Division, (“Court”) is vested with original jurisdiction over the Title VII, Section

1981, and the FMLA claims pursuant to 28 U.S.C. § 1331 because the above-

captioned complaint involves the laws of the United States and with supplemental

jurisdiction pursuant to 28 U.S.C. § 1367 because the State law claims arise from

the same nucleus of operative facts as the Federal law claims.

                                                3.

      Venue is proper pursuant to 28 U.S.C. § 1391 because Defendants are located,

and a substantial part of the events giving rise to the asserted claims occurred in, the

Northern District of Georgia, Rome Division, and the unlawful conduct forming the

basis of the above-captioned complaint occurred in the Northern District of Georgia,

Rome Division.



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                                               4.

      Prior to commencing the above-captioned case, Plaintiff satisfied all

administrative prerequisites to institute this action. Specifically, Plaintiff timely

filed a Charge of Discrimination with the Equal Employment Opportunity (“EEOC”)

within one-hundred-and-eighty (180) calendar days from the day the discrimination

took place (Charge No. 410-2021-01492) and Plaintiff has timely commenced the

above-captioned case within ninety (90) days of receipt of the Notice of Right to

Sue, dated August 16, 2021.

                                           II. PARTIES

                                               5.

      Plaintiff Desiree M. Mayes (“Mayes” or “Plaintiff”) is a thirty (30) year old

African-American female, who is a citizen of the United States, resident of the State

of Georgia, subject to this Court’s jurisdiction, and entitled to bring the claims

asserted in the above-captioned case.

                                               6.

      At all relevant times, Mayes was an “employee” of the Corporate Defendants

within the meaning of, among other laws, Title VII, Section 1981, and/or the FMLA.




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                                               7.

      Defendant EnPro Associates, LLC (“EnPro”) is North Carolina industrial

technology limited liability company that provides sealing technology, surface

technology, and engineered materials products and services, affecting inter-State

commerce through its facilities with a principle office located at 5605 Carnegie

Boulevard, Charlotte, North Carolina 28209.

                                               8.

      EnPro is the parent company of Stemco LP, which operated a facility located

at 113 Hemlock Street, Rome, Georgia 30161 (“Rome Facility”).

                                               9.

      EnPro is an “employer” with the meaning of, among other laws, Title VII,

Section 1981, and/or the FMLA, with more than fifty (50) employees for each

working day in each of the twenty (20) or more calendar weeks in the current or

preceding calendar year while engaging in inter-state commerce.

                                              10.

      EnPro may be served with process through CT Corporation System 7700 E.

Arapahoe Road, Suite 200, Centennial, Colorado 80112.




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                                              11.

      Defendant Stemco LP (“Stemco”) is a Texas limited partnership that

manufactures and distributes products for the global commercial vehicle market,

affecting inter-State commerce through its facilities with a principle office located

at 300 Industrial Boulevard, Longview, Texas 75606.

                                              12.

      Stemco operated a facility located at 113 Hemlock Street, Rome, Georgia

30161 (“Rome Facility”).

                                              13.

      Stemco is an “employer” with the meaning of, among other laws, Title VII,

Section 1981, and/or the FMLA, with more than fifty (50) employees for each

working day in each of the twenty (20) or more calendar weeks in the current or

preceding calendar year while engaging in inter-state commerce.

                                              14.

      Stemco may be served with process through CT Corporation System 289 S.

Culver Street, Lawrenceville, Georgia 30046-4805.




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                                              15.

      Defendant MAT HD, LLC (“MAT”) is an Illinois limited liability company

that manufactures and distributes products for the global commercial vehicle market,

affecting inter-State commerce through its facilities with a principle office located

at 6700 Wildlife Way, Long Grove, Illinois 60047.

                                              16.

      MAT operates a facility located at 113 Hemlock Street, Rome, Georgia 30161

(“Rome Facility”).

                                              17.

      MAT is an “employer” with the meaning of, among other laws, Title VII,

Section 1981, and/or the FMLA, with more than fifty (50) employees for each

working day in each of the twenty (20) or more calendar weeks in the current or

preceding calendar year while engaging in inter-state commerce.

                                              18.

      MAT may be served with process through Corporation Service Company, 2

Sun Court, Suite 400, Peachtree Corners, Georgia 30092.




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                                               19.

      Defendant James Meeler (“Meeler”) is and was, at all relevant times, a citizen

of the United States, resident of the State of Georgia, and subject to the jurisdiction

of this Court.

                                               20.

      Meeler was, at all relevant times, Stemco’s, EnPro’s MAT’s Production

Supervisor at the Rome Facility, involved in the day-to-day operation of the Rome

Facility and regularly exercised authority to: (a) hire and terminate employees, (b)

determine the schedules and assignments for employees, (c) supervise employees,

and (d) otherwise control operation of the Rome Facility.

                                               21.

      At all relevant times, Meeler supervised Mayes while participating in the

unlawful interference, as well as discriminatory, retaliatory, and tortious conduct

described herein.

                                               22.

      Meeler may be served with process at the Rome Facility located at 113

Hemlock Street, Rome, Georgia 30161.




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                            III. FACTUAL ALLEGATIONS

                                              23.

      At all relevant times, Stemco manufactured and distributed products for the

global commercial vehicle market from the Rome Facility. During that time, EnPro

was the parent company of Stemco LP. On or about September 26, 2019, Stemco

and EnPro “announce[d] the sale of the company’s Rome, Georgia[,] brake business

to MAT.”

                                              24.

      Mayes, a thirty (30) year old African-American female, was formerly

employed by Stemco as a Machine Operator.

                                              25.

      Prior to working for Stemco, Mayes held several professional positions

including, but not limited to, Machine Operator with F&P Manufacturing.

                                              26.

      In or about June 2014, Mayes began working as a Machine Operator for

Stemco at the Rome Facility.

                                              27.

      During the course of employment, Mayes worked under the supervision of

Meeler (Caucasian), who was a Production Supervisor at the Rome Facility.

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                                              28.

      As a Machine Operator, Mayes was responsible for completing maintenance,

development, and operations tasks that promote the efficient productions at the

Rome Facility, maintaining and operating equipment, staging and setting up

manufacturing equipment, utilizing machinery to complete tasks, performing routine

inspections of manufacturing equipment, and performing other related duties and

tasks assigned by management.

                                              29.

      At all relevant times, Mayes was a member of a protected class and/or covered

by Title VII and Section 1981.

                                              30.

      At all relevant times, EnPro, Stemco, and MAT were employers covered by

the FMLA and Mayes was an “eligible employee” as defined under the FMLA.

                                              31.

      While employed by Stemco, MAT, and EnPro, Mayes diligently performed

all tasks while meeting or exceeding all performance expectations. For example,

Mayes received rewards for producing the most parts in particular months.

Similarly, Mayes received rewards for continuous improvements on machines at the

Rome Facility.

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                                               32.

      Although Doug Terry promoted Mayes to a training office position at the

Rome Facility, when Mr. Terry left Stemco, Mayes was demoted to Machine

Operator.

                                               33.

      Several African-American employees at the Rome Facility submitted, in or

about May 2019, a racial discrimination complaint against Meeler. In this regard,

the complaining employees listed Mayes as a witness. When participating in the

racial discrimination complaint, Meeler called Mayes from the production floor and

directed Mayes to a room, where Dana Rutland (“Rutland”), Stemco HR, was

waiting. During the interview, Rutland advised Mayes that a Stemco employee

made an anonymous complaint, accusing Meeler of racial discrimination, and

inquired about Mayes’ thoughts. In response, Mayes stated that she reasonably

believed that the employment practices at the Rome Facility constituted unlawful

employment discrimination against African-American employees. Specifically,

Mayes pointed out that African-American employees were treated significantly less-

favorable than Caucasian employees, including, but not limited to, Jennifer Shontell

(“Shontell”), because African-Americans were assigned harder tasks and that

African-Americans were never hired or promoted into management positions.

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                                              34.

      Immediately after Mayes participated in the investigation into racial

discrimination against Meeler and shared observations concerning Meeler’s racial

discrimination, Defendants engaged, by and through Defendants’ agents,

representatives, and/or employees, in a retaliatory campaign against, and harassing,

Mayes. Mayes met with Meeler, who stated, in tears, “I hope they do not fire me, I

really need my job.” Additionally, Meeler and other management would needlessly

criticize Mayes’ professional performance and keep a list concerning every issue

discussed with Mayes—prior to the complaint, management never subjected Mayes

to these adverse employment actions.                   Furthermore, Meeler and management

subjected Mayes to write-ups for no reason.

                                              35.

      While operating a machine at the Rome Facility on or about May 28, 2019,

Mayes injured her shoulder. In this regard, Meeler transported Mayes to an urgent

care center.   Subsequently, Mayes received medical treatment, participated in

therapy, and was assigned light duty at Rome Facility. Nevertheless, while on light

duty, Rod Miller (“Miller”) (Stemco Supervisor) stated that Mayes faked the injury

because Mayes did not want to operate her machine.                             Moreover, Defendants

constantly complained, asked Mayes how much longer she would be on light duty,

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and inquired about how many medical appoints Mayes’ needed for the trapezoid

injury.

                                               36.

      Despite Mayes’ workplace shoulder injury, Defendants never provided

Mayes, who accrued substantial leave, with an FMLA rights-and-responsibilities

notice (or any other information or policies concerning leave/attendance).

                                               37.

      Mayes repeatedly complained to Charles Johnson (“Johnson”), about the

racial discrimination, harassment, retaliation, and other issues Mayes experienced at

the Rome Facility. Johnson observed and recognized the racial discrimination,

harassment, retaliation, and other issues Mayes experienced at the Rome Facility.

However, Johnson took no remedial action or addressed Mayes complaints or

concerns.

                                               38.

      On September 26, 2019, Stemco and EnPro announced the sale of the Rome

Facility to MAT.

                                               39.

      More egregiously, following Mayes’ participation in the investigation

concerning Meeler’s racial discrimination at the Rome Facility, Defendants

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terminated Mayes’ employment. On September 26, 2019, Rutland advised Mayes

that her employment at the Rome Facility was terminated. Specifically, seven (7)

African-American employees, including Mayes, and three (3) Caucasian employees

were advised that their employment was terminated due to a purported “lack of

work.” The three primary witnesses in the investigation of the racial discrimination

complaint against Meeler, including, but not limited to, Mayes, had their

employment terminated.

                                              40.

      Prior to the termination of employment, Mayes had not received any

disciplinary actions while employed at the Rome Facility.

                                              41.

      Although Mayes diligently performed, Defendants treated, by and through

Defendant’s agents, representatives, and/or employees, Mayes unequivocally and

significantly less favorably than non-African-American co-workers, including, but

not limited to, Erica Forsyth (“Forsyth”), who were in similar and comparable

positions at Rome Facility, did not participate in the investigation into Meeler’s

racial discrimination, and whose employment was not terminated following the sale

of the Rome Facility to MAT. For example, when Mayes suffered pregnancy

complications and requested a reasonable accommodation, Defendants continued to

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assign heavy lifting tasks, resulting in a premature birth and hernia. Conversely,

when Forsyth was pregnant, Defendants afforded Forsyth a reasonable

accommodation, removed Forsyth from the production floor, and assigned Forsyth

light duty office work.

                                               42.

      During the course of Mayes’ employment at the Rome Facility, African-

Americans employees in management or supervisory positions were always the first

employees terminated whenever there was a reduction-in-force.

                                               43.

      Defendants terminated Maye’s employment and punished Mayes, who

participated in the investigation into Meeler’s racial discrimination at the Rome

Facility.

                                               44.

      As a result of unfair, discriminatory, and retaliatory treatment, Mayes has

suffered the indignity of race discrimination, the invasion of right to be free from

discrimination, humiliation, emotional pain, mental distress, inconveniences, and

mental anguish, for which Mayes is entitled to recover.




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                                IV. CLAIMS FOR RELIEF

                               COUNTS I & II
                         RACE DISCRIMINATION
             IN VIOLATION OF TITLE VII AND SECTION 1981
                (Against Defendants Stemco, EnPro, and MAT)

                                               45.

      Title VII and Section 1981 prohibit employers from discriminating against an

employee based upon, inter alia, race, ethnicity, and/or national origin.

                                               46.

      As an African-American, Mayes is a member of a protected class under Title

VII and Section 1981.

                                               47.

      At all relevant times, the relationship between Mayes, Stemco, EnPro, and

MAT was a relationship of “employee” to “employer” under Title VII and Section

1981, such that a cause of action exists where discrimination on the basis of race is

alleged to be the cause of an adverse actions directed to the employee by the

employer.




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                                                 48.

         At all times relevant to this action, Stemco, EnPro, and MAT acted by and

through agents and employees, including, but no limited to, Meeler and Miller, each

of whom acted in the course and scope of their employment with and for Stemco,

EnPro, and MAT.

                                                 49.

         Despite Mayes’ diligent work performance, Defendants intentionally

discriminated against Mays on the basis of race by, among other things, subjecting

Mayes to unfair treatment compared to similarly-situated non-African-American

employees (including but not limited to Forsyth who did not participate in the

investigation of the racial discrimination complaint against Meeler), subjecting

Mayes to needless professional criticism and wrote-up Mayes without justification,

and terminating employment, as well as other unlawful actions based solely upon

race.

                                                 50.

         Nevertheless, Mayes was treated less-favorably than similarly-situated non-

African-American Stemco, EnPro, and MAT employees, including, but not limited

to, Forsyth, in violation of Title VII and Section 1981.



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                                               51.

      Defendants’ conduct adversely impacted the terms, conditions, and privileges

of Mayes’ employment.

                                               52.

      Defendants’ actions constitute unlawful race discrimination in violation of

Title VII and Section 1981.

                                               53.

      Defendants have willfully and wantonly disregarded Plaintiff’s statutory

rights and Defendants’ discrimination was undertaken in bad faith.

                                               54.

      As a direct and proximate result of Defendants’ unlawful employment

practices, which were intended to cause Mayes harm and/or were committed with

reckless disregard of the harm caused to Mayes, in derogation of Maye’s Federally-

protected rights, Mayes has suffered and continues to suffer the indignity of race and

national origin discrimination, the invasion of his right to be free from race and

national origin discrimination, humiliation, emotional pain, mental distress,

inconveniences and mental anguish.




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                                               55.

        Defendants intentional and illegal conduct entitles Mayes to compensatory

damages, as well as any and all other remedies available under Title VII and Section

1981.

                                               56.

        Defendants’ actions with regard to Mayes demonstrate willful misconduct,

malice, fraud, wantonness, oppression, and a complete lack of care entitling Mayes

to an aware of punitive damages to deter, punish, and penalize Bass Pro Shops for

and from similar future conduct.

                                   COUNT III
                                INTERFEERNCE
                        IN VIOLATION OF THE FMLA
                  (Against Defendants Stemco, EnPro, and MAT)

                                               57.

        The FMLA prohibits employers from interfering with employees’ exercises

of rights under FMLA and provides that, when an employer acquires knowledge

than an employee may qualify for FMLA leave, the employer must evaluate whether

the employee qualifies for FMLA protection, provide notice to the employee of the

eligibility for and rights under the FMLA, as well as advise the employee of the

rights-and-responsibilities under the FMLA.


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                                              58.

      Because Mayes had worked more than 1,250 hours during the 12 months

preceding the Mayes’ shoulder injury that rendered Mayes unable to perform the

functions of a Machine Operator, Mayes was entitled to take leave pursuant to the

FMLA.

                                              59.

      At all times relevant to this action, the relationship between Mayes, EnPro,

Stemco, and MAT was an employer-employee relationship within the meaning of

the FMLA, such that a cause of action exists where EnPro, Stemco, and MAT

employers as defined by the FMLA, Mayes was an eligible employee as defined by

the FMLA, and Defendants interfered with Mayes’ entitlement to take leave

pursuant to the FMLA.

                                              60.

      At all times relevant to this action, EnPro, Stemco, and MAT acted by and

through its agents and employees, including, but not limited to, Miller and Meeler,

each of whom acted in the course and scope of their employment with and for EnPro,

Stemco, and MAT.




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                                              61.

      Mayes had an “entitlement to leave” as defined by the FMLA, 29 U.S.C. §

2612(a)(1) when Mayes suffered a serious shoulder injury that rendered her unable

to perform the functions of a Machine Operator.

                                              62.

      Mayes satisfied all FMLA prerequisites.

                                              63.

      Defendants violated the FMLA by interfering with Mayes rights when

Defendants, following the serious shoulder injury suffered at the Rome Facility,

failed to provide Mayes with notice of Mayes’ rights-and-responsibilities while on

FMLA leave.

                                              64.

      Due to Defendants’ interference, Mayes was unable to exercise Mayes’ full

rights under FMLA in a meaningful way.

                                              65.

      As a direct and proximate result of the above-described actions, Defendants

have deprived Mayes of an employment benefit.




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                                               66.

      Additionally, Mayes has suffered and continues to suffer loss income in the

form of wages, health insurance, prospective retirement benefits, social security, and

other benefits, as well as humiliation, emotional pain, mental distress,

inconveniences, and mental anguish.

                                               67.

      Defendants’ interferences were willful, deliberate, and intended to cause

Mayes harm and/or were committed with reckless disregard of harm caused to

Mayes, and in derogation of Mayes’ Federally-protected rights.

                                               68.

      As a result, Mayes is entitled to both equitable and monetary relief for

Defendants’ violation of the FMLA, including, but not limited to, back pay, front

pay or reinstatements, attorney’s fees, and costs of litigation.

                                               69.

      Mayes is also entitled to liquidated damages for Defendants’ violation of

Mayes’ rights under the FMLA because Defendants’ actions were willful violations

of the FMLA.




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                       COUNTS IV, V, AND VI
                           RETALIATION
     IN VIOLATION OF THE FMLA, TITLE VII, AND SECTION 1981
             (Against Defendants Stemco, EnPro, and MAT)

                                               70.

      The FMLA, Title VII, and Section 1981 prohibit employers from retaliating

against an employee who opposes an employment practice prohibited by, or exercise

or attempt to exercise rights, under the FMLA, Title VII, and Section 1981.

                                               71.

      At all relevant times, Mayes was an eligible employee who was entitled to

leave pursuant to the FMLA because Mayes suffered a serious shoulder injury while

working at the Rome Facility that rendered Mayes unable to perform as a Machine

Operator.

                                               72.

      As thirty (30) year old African-American female, Mayes is a member of

protected classes under Title VII and Section 1981.

                                               73.

      During the relevant period, the relationship between Mayes, Stemco, EnPro,

and MAT was an employer-employee relationship within the meaning of the FMLA,

Title VII, and Section 1981, such that a cause of action exists where retaliation on


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the basis of opposing discrimination, reporting discrimination, and/or exercising

protected Federal rights are alleged to be the causative agent of adverse employment

action(s) directed to Mayes by Defendants.

                                              74.

      During the course of Mayes’ employment, Stemco, EnPro, and MAT,

including Stemco’s, EnPro’s, and MAT’s agents and employees, unlawfully and

knowingly discriminated against and harassed Mayes based upon, among other

things, race and Mayes’ participation in the investigation related to the racial

discrimination complaint against Meeler, in violation of, inter alia, Title VII and

Section 1981.

                                              75.

      During the course of Mayes’ employment, Stemco, EnPro, and MAT,

including Stemco’s, EnPro’s, and MAT’s agents and employees, unlawfully and

knowingly interfered with Mayes’ entitlement to leave pursuant to the FMLA.

                                              76.

      Mayes complained to Stemco’s, EnPro’s, and MAT’s employees, including,

but not limited to, Johnson, about unlawful employment practices based upon race,

as well as the interference with FMLA leave.



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                                                 77.

         Following Mayes complaints and participation in the investigation into the

racial discrimination complaint against Meeler, Defendants took additional adverse

employment actions against Mayes, including, but not limited to, interfering with

Mayes’ ability to take FMLA, negative comments, needless criticism, warrantless

write-ups, as well as the termination of employment based solely upon complaints

of interference and race discrimination in violation of, inter alia, the FMLA, Title

VII, and Section 1981.

                                                 78.

         Defendants’ adverse employment actions against Mayes constitute unlawful

retaliation against Mayes in violation of, inter alia, the FMLA, Title VII, and Section

1981.

                                                 79.

         Defendants’ retaliatory actions were willful, deliberate, and intended to cause

Mayes harm and/or were committed with reckless and wanton disregard of the harm

causes to Mayes in derogation of Maye’s Federally-protected rights.

                                                 80.

         Defendants’ discriminatory and retaliatory actions were undertaken in bad-

faith.

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                                               81.

      The retaliation to which Mayes was subjected by Defendants entitle Mayes to

all appropriate relief afforded under the law.

                                               82.

      As a result of Defendants’ intentional and unlawful actions, Mayes has

suffered lost compensation and other benefits of employment, physical and

emotional distress, inconvenience, humiliation, damage to reputation, other

indignities, as well as past and future pecuniary losses.

                                               83.

      Defendants’ actions with respect to Mayes have demonstrated willful

misconduct, malice, fraud, wantonness, oppression, and a complete want of care,

and thus, Mayes is entitled to an award of punitive damages to deter, punish, and

penalize Defendants for and from similar future conduct.




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                               COUNT VII:
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
      IN VIOLATION OF THE LAWS OF THE STATE OF GEORGIA
           (Against Defendants Stemco, EnPro, MAT and Meeler)

                                               84.

      Defendants’ statements, conduct, and behavior, by and through Defendants’

agents, representatives, and/or employees, towards Mayes were intentional and

reckless, extreme and outrageous, causing Mayes severe shame, humiliation,

embarrassment, and emotional distress of a nature that no person should endure.

                                               85.

      Defendants’ statements, conduct, and behavior, by and through Defendants’

agents, representatives, and/or employees, towards Mayes demonstrate, among other

things, a “retaliatory animus.”

                                               86.

      At all relevant times, the Parties had a special, employer-employee

relationship, wherein Defendants had control over Maye’s and Maye’s income

and/or livelihood.




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                                               87.

      When engaging in the intentional, reckless, extreme, and outrageous conduct

towards Mayes, Defendants knew that Mayes was dependent upon the income

received from Stemco, EnPro, and MAT.

                                               88.

      Defendants repeatedly assigned heavy lifting tasks resulting in a premature

birth and hernia, subjected Mayes to public ridicule based upon a workplace injury

suffered at the Rome Facility, interfered with Mayes’ ability to take medical leave

and obtain treatments due to the serious workplace injury, required Mayes to

participate in the investigation into the racial complaint against Meeler that ultimate

lead to the termination of Mayes’ employment, and subjected Mayes to other

unlawful and tortious conduct.

                                               89.

      Defendants knew or should have known that such conduct would result in the

severe emotional distress suffered by Mayes.

                                               90.

      As a result of Defendants’ conduct, Mayes has and will continue to suffer

severe emotional distress and other damages for which Mayes is entitled to recover.



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                              COUNT VIII
              NEGLIGENT RETENTION AND SUPERVISION
                  IN VIOLATION OF GEORGIA LAW
                (Against Defendants Stemco, EnPro, MAT)

                                              91.

      As a result of the actions taken by Defendants, Mayes is suffered, among

other things, discrimination based race, interference with ability to take FMLA

leave, severe emotional distress.

                                              92.

      Stemco, EnPro, and MAT owed Mayes a duty to hire, retain, and supervise

employees who would lawfully conduct themselves and not engage in

discriminatory or tortious conduct.

                                              93.

      By negligently retaining and supervising its employees, including, but not

limited to Meeler and Miller, Stemco, EnPro, and MAT breached its duty to hire,

retain, and supervise employees who would lawfully behave.

                                              94.

      Stemco, EnPro, and MAT knew or, in the exercise of ordinary diligence,

should have known of the propensity of its employees, including, but no limited to,

Meeler and Miller, to engage in unlawful conduct against Mayes.


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                                               95.

      By failing to engage in any corrective or remedial action, Stemco, EnPro, and

MAT ratified, condoned, and/or adopted its employees’ unlawful conduct.

                                               96.

      As a direct and proximate result of Stemco, EnPro, and MAT negligent

retention and supervision of its employees, as well as the failure to take any remedial

or corrective action with respect to the known unlawful actions taken by employees,

including, but not limited to, Miller and Meeler, Mayes suffered damages.

                                               97.

      Stemco’s, EnPro’s, and MAT’s negligent conduct entitles Mayes to

compensatory damages, punitive damages, as well as any and all other remedies

available under the law.

                                   PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully demand a trial by jury and request the

following relief:

      (a)    That the Clerk of the Court issue summons and original process, served

             upon Defendants and any other person or entity the Court deems

             necessary in accordance with the law;



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 (b)    That the Court grant declaratory judgment that Plaintiff’s rights under,

        among other laws, Title VII, Section 1981, the FMLA, and the laws of

        the State of Georgia were violated;

 (c)    That the Court award Plaintiff compensatory damages for all injuries

        suffered as a result of Defendants’ unlawful conduct;

 (d)    That the Court award back pay, including, but not limited to, unpaid

        back wages, lost income, bonuses, incentive compensation, pension,

        social security, and other benefits in amounts to be shown at trial;

 (e)    That the Court award liquidated damages equal to back pay and lost

        benefits based upon Defendants’ willful violations of Title VII, Section

        1981, the FMLA, and the laws of the State of Georgia;

 (g)    That the Court award punitive damages in an amount reasonable and

        commensurate with the harm done and calculated to be sufficient to

        deter such future conduct;

 (h)    That the Court award pre-judgment interest on any monetary award;

 (i)    That the Court grant a trial by jury as to all triable issues of fact; and

 (j)    Further and additional relief as may be just and appropriate.



                [SIGNATURE ON THE FOLLOWING PAGE]

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 Respectfully submitted, this 9th day of November, 2021.

                                           MOLDEN & ASSOCIATES

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            IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                       ROME DIVISION
 DESIREE M. MAYES,

              Plaintiff,

              vs.                                       CIV. ACTION NO. _______________

 ENPRO ASSOCIATES, LLC;                                 JURY TRIAL DEMANDED
 STEMCO LP;
 MAT HD, LLC; and
 JAMES MEELER

              Defendants.


               LOCAL RULE AND SERVICE CERTIFICATION

      The undersigned counsel certifies that this document has been prepared in

accordance with the Local Rules and that the foregoing First Amended Complaint for

Damages has been filed with the Clerk using the CM/ECF system which will notify

the attorney(s) of record.

      Respectfully submitted, this 9th day of November, 2021.

                                                 MOLDEN & ASSOCIATES


                                                 T. ORLANDO PEARSON
                                                 Georgia Bar No. 180406




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